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 4                                   UNITED STATES DISTRICT COURT
 5                                          DISTRICT OF NEVADA
 6                                                      ***
 7         UNITED STATES OF AMERICA,                                Case No. 2:16-cr-00046-GMN-PAL
 8                                              Plaintiff,
                 v.                                                      AMENDED ORDER1
 9
           STEVEN A. STEWART, et al.,                            (Ex Parte Mot. Subpoenas – ECF No. 705)
10
                                            Defendants.
11

12              This matter is before the court on Defendant Steven A. Stewart’s Ex Parte Motion for
13     Subpoena Duces Tecum (ECF No. 705). Having reviewed and considered the matter pursuant to
14     Rule 17 of the Federal Rules of Criminal Procedure, the court finds that Mr. Stewart has met his
15     burden of establishing the need for pretrial production of the materials described in the Motion.
16     Although the court finds good cause for Stewart’s Motion to remain ex parte and under seal, the
17     Motion provides no justification for issuance of an ex parte subpoena giving him exclusive pretrial
18     access to the documents he seeks. The court will therefore, direct issuance of subpoenas duces
19     tecum directing the custodian of records for the two agencies to produce the designated items to
20     the Clerk of the Court by December 23, 2016. Upon receipt of the documents, the Clerk shall
21     notify counsel for the parties that the documents are available for inspection and copying.
22              Accordingly,
23              IT IS ORDERED:
24                    1. Defendant Steven A. Stewart’s Ex Parte Motion for Subpoena Duces Tecum (ECF
25                       No. 705) is GRANTED, and shall remain ex parte and under seal.
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         This amendment corrects an administrative error in the original Order (ECF No. 865) that prevented the
       Motion from remaining ex parte and under seal. Accordingly, the court will direct the Clerk of the Court
28     to seal the original (ECF No. 865).
                                                             1
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 1              2. The Clerk of the Court shall SEAL (ECF No. 865).

 2              3. The Clerk of the Court shall issue a subpoena, conforming to the court’s

 3                  instructions herein, and deliver a copy of this Amended Order and the subpoena to

 4                  the U.S. Marshal for service.

 5              4. The custodians of records shall produce and forward records responsive to the

 6                  subpoena by December 23, 2016, along with a copy of this Amended Order, to:

 7                  Clerk of Court
 8                  United States District Court for the District of Nevada
                    333 Las Vegas Blvd., South
 9                  Las Vegas, Nevada 89101
10              5. Upon receipt of the records, the Clerk of Court shall notify counsel for the parties

11                  that the documents are available for inspection and copying.

12              6. The cost of process, fees, and expenses for the subpoena shall be paid as if

13                  subpoenaed on behalf of the government, the Court being satisfied that Defendant

14                  Steven A. Stewart is financially unable to pay the fees and expenses.

15           Dated this 13th day of October, 2016.
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17                                                        PEGGY A. LEEN
                                                          UNITED STATES MAGISTRATE JUDGE
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